                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

In re
                                                     Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al.,
         1*1
                                                    Chapter 11
                                                     Hon. Lisa S. Gretchko
        Debtors.                                     Jointly Administered


                  COVER SHEET FOR TRANSMITTAL OF
                 SMALL BUSINESS OPERATIONG REPORT

                     GRACEWAY SOUTH HAVEN, LLC
                        (CASE NO. 21-44888-lsg)

                FOR THE PERIOD ENDING AUGUST 31,2021




1 The debtors in these jointly administered proceedings along with the last four digits
of their respective federal tax id numbers are Silverside Senior Living, LLC (2357)
[Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case No. 21-
44888-lsg].


 21-44887-lsg   Doc 141    Filed 11/12/21   Entered 11/12/21 17:59:56   Page 1 of 18
 Fill in this information to identify the case:
 Debtor name                Graceway South Haven, LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF MICHIGAN
 Case number: 21-44888
                                                                                                                       D Check if this is an
                                                                                                                          amended filing

Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11                                                                         12/17

Month:                       August 2021                                                   Date report filed:          08/04/2021
                                                                                                                       MM/DD/YYYY
Line of business:            Skilled Nursing Facility                                      NAISC code:                  623110

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.
Responsible party:                                   Anthony Fischer, Jr.

Original signature of responsible party             /s/s Anthony Fischer, Jr.

Printed name of responsible party                    Anthony Fischer, Jr.

            1. Questionnaire
Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                             Yes No N/A
   If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.
1. Did the business operate during the entire reporting period?                                                              D      B D
2. Do you plan to continue to operate the business next month?                                                               D
3. hlave you paid all of your bills on time?                                                                                 D      D@
4. Did you pay your employees on time?                                                                                       D      D B
5. Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                           D      D B
6. Have you timely filed your tax returns and paid all of your taxes?                                                        D      D B
7. Have you timely filed all other required government filings?                                                              D      D i
8. Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                           D      D m
9. Have you timely paid all of your insurance premiums?                                                                      D
 If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
10. Do you have any bank accounts open other than the DIP accounts?                                       D.                        i D
11. Have you sold any assets other than inventory?                                                        D                             D
12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way? D                         i D
13. Did any insurance company cancel your policy?                                                         D                         B D
14. Did you have any unusual or significant unanticipated expenses?                                       D                         i D
15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                   D                         B D
16. Has anyone made an investment in your business?                                                       D                         i
17. Have you paid any bills you owed before you filed bankruptcy?                                         a                         B
18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?           D                         B

            2. Summary of Cash Activity for All Accounts

19. Total opening balance of all accounts $ 5,318.11
  This amount must equal what you reported as the cash on hand at the end of the month in the previous
       month. If this is your first report, report the total cash on hand as of the date of the filing of this case.
20. Total cash receipts

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11 page 1
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         21-44887-lsg Doc 141 Filed 11/12/21 Entered 11/12/21 17:59:56 Page 2 of 18
  Debtor              Graceway South Haven, LLC                                            Case number 21-44888
  Name

           Attach a listing of all cash received for the month and label it Exhibit C. Include all cash received even if you
           have not deposited it at the bank, collections on receivables, credit card deposits, cash received from other
           parties, or loans, gifts, or payments made by other parties on your behalf. Do not attach bank statements in
           lieu of Exhibit C.

           Report the total from Exhibit C here.                                                $ 52,186.67

 21.       Total cash disbursements
           Attach a listing of all payments you made in the month and label it Exhibit D. List the date paid, payee,
           purpose, and amount. Include all cash payments, debit card transactions, checks issued even if they have not
           cleared the bank, outstandingchecks issued before the bankruptcy was filed that were allowed to clear this
           month, and payments made by other parties on your behalf. Do not attach bank statements in lieu of Exhibit
          D.

          Report the total from Exhibit D here.                                               -$. 7.03

 22. Net case flow                                                                                                         +$ 52,179.64
          Subtract line 21 from line 20 and report the result here.
          This amount may be different from what you may have calculated as net profit.

 23. Cash on hand at the end of the month

          Add line 22 + line 19. Report the result here. :$ 52,179.64

          Report this figure as the cash on hand at the beginning of the month on your next operating report.

          This amount may not match your bank account balance because you may have outstanding checks that have
          not cleared the bank or deposits in transit.

                3. Unpaid Bills

          Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
          have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the purpose
          of the debt, and when the debt is due. Report the total from Exhibit E here.

 24.      Total payables                                                                                                       $ 0.00
                (Exhibit E)

                4. Money Owed to You

          Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
          have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
          Identify who owes you money, how much is owed, and when payment is due. Report the total from Exhibit F
          here.

25.       Total receivables                                                                                                    $ @250,000.00


                5. Employees

 26. What was the number of employees when the case was filed?                                                                 $ 0


 27. What is the number of employees as of the date of this monthly report?                                                    $. 0

                6. Professional Fees

28. How much have you paid this month in professional fees related to this bankruptcy case?                                    $ 0.00


Official Form 425C Monthly Operating Report for Small Business Under Chapter 11                                                             page 2
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  Debtor              Graceway South Haven, LLC                                             Case number 21-44888
  Name

  29. How much have you paid in professional fees related to this bankruptcy case since the case was filed? $ 0.00
  30. How much have you paid this month in other professional fees? $                                                       0.00

  31. How much have you paid in total other professional fees since filing the case? $                                      0.00

                 7. Projections

           Compare your actual cash receipts and disbursements to what you projected in the previous month. Projected
           figures in the first month should match those provided at the initial debtor interview, if any.


                                                Column A                       Column B              Column C
                                                Projected                      Actual                Difference

                                                Copy lines 35-37 from the      Copy lines 20-22 of   Subtract Column B
                                                previous month's report.       this report.          from Column A.

 32. Cash receipts                              $                              $                     $

 33. Cash disbursements                         $                              $                     $

 34. Net cash flow                               $                             $                     $



 35. Total projected cash receipts for the next month:                                                                   $ 0.00

 36. Total projected cash disbursements for the next month:                                                          - $ 0.00

 37. Total projected net cash flow for the next month:                                                               = $ 0.00

8. Additional Information

  If available, check the box to the left and attach copies of the following documents.

 @ 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

 [_] 39. Bank reconciliation reports for each account.

Q 40. Financial reports such as an income statement (profit & loss) and/or balance sheet.

Q 41. Budget, projection, or forecast reports.
Q 42. Project, job costing, or work-in-progress reports.




Official Form 425C                              Monthly Operating Report for Small Business Under Chapter 11                         page 3
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                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION

In re
                                                               Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al.,'                                                  Chapter 11
                                                                Hon. Lisa S. Gretchko
         Debtors.                                               Jointly Administered




                                              EXHIBIT A

                   GRACEWAY SOUTH HAVEN, LLC
          SMALL BUSINESS MONTHLY OPERATING REPORT FOR
                 THE PERIOD ENDING AUGUST 31, 2021



All of the Debtor's residents were moved to alternative facilities on May 27, 2021.
The Debtor has not maintained any operations since that date.




1 The debtors in these jointly administered proceedings along with the last four
digits of their respective federal tax id numbers are Silverside Senior Living, LLC
(2357) [Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case
No. 21-44888-lsg].

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                                      SOUTHERN DIVISION

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                                                             Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al.,l                                                Chapter 11
                                                             Hon. Lisa S. Gretchko
        Debtors.                                              Jointly Administered


                                             EXHIBIT B


                     GRACEWAY SOUTH HAVEN, LLC
              SMALL BUSINESS MONTHLY OPERATING REPORT
                FOR THE PERIOD ERNDING AUGUST 31,2021




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                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION

In re
                                                              Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al.,1                                                 Chapter 11
                                                              Hon. Lisa S. Gretchko
        Debtors.                                              Jointly Administered



                                             EXHIBIT C

                    GRACEWAY SOUTH HAVEN, LLC
             SMALL BUSINESS MONTHLY OPERATING REPORT
                   CASH RECEIPTS FOR THE PERIOD
                       ENDING AUGUST 31,2021



American United Life Ins. $59.32
Curo Health Services, LLC: $5,358.79
Hospice Care of Southwest Michigan: $11,826.08
Concept Rehab Preference: $34,942.48
Total: $52,186.67




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                       UNITED STATES BANKRUPTCY COURT
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In re
                                                              Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al.,l                                                 Chapter 11
                                                              Hon. Lisa S. Gretchko
        Debtors.                                              Jointly Administered




                                             EXHIBIT D

                     GRACEWAY SOUTH HAVEN, LLC
              SMALL BUSINESS MONTHLY OPERATING REPORT
                    FOR THE ENDING AUGUST 31, 2021




Bank Fees:                                       $7.03




1 The debtors in these jointly administered proceedings along with the last four
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SILVERSIDE SENIOR LIVING,
LLC, et al.,l                                                 Chapter 11
                                                              Hon. Lisa S. Gretchko
        Debtors.                                              Jointly Administered



                                             EXHIBIT E

                     GRACEWAY SOUTH HAVEN, LLC
              SMALL BUSINESS MONTHLY OPERATING REPORT
                FOR THE PERIOD ENDING AUGUST 31,2021

                                      ACCOUNTS PAYABLE


None.




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In re
                                                              Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al. 1                                                 Chapter 11
                                                              Hon. Lisa S. Gretchko
        Debtors.                                              Jointly Administered



                                             EXHIBIT F

                    GRACEWAY SOUTH HAVEN, LLC
             SMALL BUSINESS MONTHLY OPERATING REPORT
               EXPENSES FOR THE PERIOD AUGUST 31,2021




The Debtor is working to generate an updated accounts receivable report.




1 The debtors in these jointly administered proceedings along with the last four
digits of their respective federal tax id numbers are Silverside Senior Living, LLC
(2357) [Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case
No. 21-44888-lsg].

*S&B\85370\002\MISC\SB755989.DOCX
 21-44887-lsg      Doc 141          Filed 11/12/21   Entered 11/12/21 17:59:56   Page 12 of 18
                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION

In re
                                                              Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al. 1                                                 Chapter 11
                                                              Hon. Lisa S. Gretchko
        Debtors.                                              Jointly Administered




                                             EXHIBIT G

              SMALL BUSINESS MONTHLY OPERATING REPORT
                    BANK RECORDS FOR THE PERIOD
                        ENDING AUGUST 31, 2021



See Attached Bank Statements.




1 The debtors in these jointly administered proceedings along with the last four
digits of their respective federal tax id numbers are Silverside Senior Living, LLC
(2357) [Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case
No.21-44888-lsg].


*S&B\85370\002\MISC\SB755989.DOCX
 21-44887-lsg       Doc 141         Filed 11/12/21   Entered 11/12/21 17:59:56   Page 13 of 18
                                                  150 Third Avenue South

           Pinnacle                         ,SM
                                                  Suite 900
                                                  Nashville, TN 37201
                                                  www.pnfp.com
                                                                                                      Client Service Center 800-264-3613
                                                                                                      Pinnacle Anytime 866-755-5428


           RETURN SERVICE REQUESTED                                                                   Account
                                                                                                      XXXXXXXX1306




                                            Graceway South Haven LLC
                                            Debtor in Possession
                                            13228 Chestnut St
                                            Southgate, Ml 48195-1257




         Statement of Account                                                                                                  Horizon 150



                 Balance 8/19/21                             Summary                                     l.\                        /',


                 $.00


                 Balance 8/31/21
                                                             Credits
                                                             Interest
                                                                            +$52,186.67
                                                                            +$.00
                                                                                                        \\»
                                                                                                     !L^ ^^           ^            *s
                                                                                                                                     ^       »s




                                                                                                                     ^v\.                         ^
                 $ 52,179.64                                 Debits         -$7.03

           Credit Transactions                                                                 Updates Coming to Fee Disclosure
                                                                                               July 22
          Deposits
                                                                                               Every few years, Pinnacle reviews our
          8/23            Regular Deposit                                         52,186.67    Disclosure of Fees and Service Charges to
                                                                                               ensure the prices listed are fair to clients and
          Total Credits                                                           $52,186.67
                                                                                               reflect the cost to provide services. We have
                                                                                               decided to update our pricing for select
                                                                                               items, such as check copies and cashier's
                                                                                               checks at client request, effective July 22,
          Debit Transactions                                                                   2021. You can find the updated disclosure at
                                                                                               PNFP.com/JulyUpdate
          Other Debits
         8/23             DELUXE BUS SYS. BUS PRODS 10350423                           7.03
                          1411877307 TONY FISCHER
         Total Debits                                                                 $7.03


        Average Balance This            $36,124.36 Annual Percentage Yield             .00%
        Statement                                        Earned
        Interest Earned This Period                 $.00 Days in Period                   13
        Interest Paid Year to Date                  $.00 Interest Paid                 $.00




                Member
EQUKL HOUSINa
LENDER
                FDIC                                                                                                                      Page 1 of 5

                                                                                                                                           GAB3605
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                                           Pinnacle

 ELECTRONIC TRANSFER ERROR RESOLUTION

 This Electronic Transfer Error Resolution only applies to accounts held for personal, family or household purposes
 and is therefore not applicable to business, trust accounts, or any such account held for non-personal purposes.
 In case of errors or questions about your electronic transfers, call or write us at the telephone number or address
 listed at the end of this disclosure, as soon as you can, if you think your statement or receipt is wrong or if you
 need more information about a transfer listed on the statement or receipt.

          Tell us your name and account number (if any).

          Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe
          it is an error or why you need more information.

          Tell us the dollar amount of the suspected error.

 We must hear from you no later than 60 days after we send the FIRST statement on which the problem or error
 appeared.

 We will provide provisional credit for the amount that you think is in error within 10 business days of your
 complaint and begin an investigation of the transaction(s). In most cases, we will disclose the results of the
 investigation within 10 business days of your complaint and correct any error promptly. If we need more time to
 investigate the complaint, we may take up to 45 days (90 days if the transfer involved a point-of-sale transaction or
 a foreign initiated transfer) to complete our investigation. However, you will have use of the funds in question
 during our investigation.

                                                   Pinnacle Bank
                                          150 3rd Avenue South, Suite 900
                                                Nashville, TN 37201
                                                  (800)264-3613




                                                                                                    Page 2 of 5


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 Account Number: XXXXXXXX1306

                                                                        •^
  DAILY BALANCE INFORMATION                                             •;s

  8/19         .00        8/23                       52,179.64




                                                                                   Page 3 of 5


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Account Number: XXXXXXXX1306                                                                                 Date               8/31/21
                                                                                                             Primary Acct No.   XXXXXXXX1306

                   Pinnacle                               DEPOSIT
          Jh                                               [7C_
                                                           iiiauiKi



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        #0                          08/23/2021                               $52,186.67




                                                                                                                                    Page 5 of 5


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